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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                            Crim. No. 17-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,


               Defendant.


             JOINT RESPONSE TO COURT’S FEBRUARY 14, 2019 ORDER

       The United States of America, by and through Special Counsel Robert S. Mueller, III, and

the defendant through his counsel, file this submission pursuant to the Court’s Minute Order dated

February 14, 2019, directing the parties to file their proposed redactions to the transcript from the

February 13, 2019 sealed hearing. Pursuant to the Court’s direction, the parties have come to

agreement on proposed redactions, filed under seal as Attachment A; the defense expects to file a

motion with respect to additional material that can be unredacted. Additionally, the government

includes a version with the proposed redactions applied, filed under seal as Attachment B.


Dated: February 15, 2019                              Respectfully submitted,

                                                      ROBERT S. MUELLER III
                                                      Special Counsel


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